                                                                                            08/21/2024


           IN THE SUPREME COURT OF THE STATE OF MONTANA
                                                                                        Case Number: DA 22-0714


                                      DA 22-0714
                                   _________________

STATE OF MONTANA,

             Plaintiff and Appellee,

      v.                                                           ORDER

HEATHER ROSE JOHNSON,

             Defendant and Appellant.
                                 _________________

       Pursuant to the Internal Operating Rules of this Court, this cause is classified for
submission on briefs to a five-justice panel of this Court.
       The Clerk is directed to provide a copy hereof to all counsel of record and to the
Honorable Jennifer B. Lint, District Judge.

                                                  For the Court,




                                                                             Electronically signed by:
                                                                                   Mike McGrath
                                                                      Chief Justice, Montana Supreme Court
                                                                                  August 21 2024
